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Attorneys for Defendant Albertsons Companies, Inc.


                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

CHRISTINE WHALEN, et al.,
                                                 CASE NO. 3:23-CV-459-VC
               Plaintiffs,

       v.                                        ALBERTSONS COMPANIES, INC.’S
                                                 NOTICE OF JOINDER IN DEFENDANT THE
THE KROGER CO., ALBERTSONS                       KROGER CO.’S OPPOSITION TO
COMPANIES, INC., AND CERBERUS                    PLAINTIFFS’ MOTION FOR A
CAPITAL MANAGEMENT, L.P.,                        PRELIMINARY INJUNCTION

               Defendants.                       Date:    May 18, 2023
                                                 Time:    10:00 a.m.
                                                 Place:   Courtroom 5 - 17th Floor
                                                 Judge:   Hon. Vince Chhabria




                                                                Case No. 3:23-CV-459-VC
    ALBERTSONS COMPANIES, INC.’S NOTICE OF JOINDER IN DEFENDANT THE KROGER CO.’S
          OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
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TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT Defendant Albertsons Companies, Inc. (“Albertsons”)

hereby joins in Defendant The Kroger Co.’s (“Kroger”) Opposition to Plaintiffs’ Motion for a

Preliminary Injunction as to Count I, Plaintiffs’ Clayton Act Section 7 claim regarding the

proposed merger between Kroger and Albertsons, filed April 20, 2023 (ECF No. 53), set for

hearing before the Court on May 18, 2023 at 10:00 a.m. in the courtroom of the Honorable Vince

Chhabria, located at 450 Golden Gate Avenue, San Francisco, CA 94102, 17th Floor, Courtroom

5.




Dated: April 20, 2023                       By: /s/Edward D. Hassi
                                            Edward D. Hassi (pro hac vice)


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                                            Inc.

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     ALBERTSONS COMPANIES, INC.’S NOTICE OF JOINDER IN DEFENDANT THE KROGER CO.’S
           OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
          Case 3:23-cv-00459-VC Document 56 Filed 04/20/23 Page 3 of 3




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on April 20, 2023, the foregoing document was filed with

the Clerk of the U.S. District Court for the Northern District of California, using the court’s

electronic filing system (ECF), in compliance with Civil L.R. 5-1. The ECF system serves a

“Notice of Electronic Filing” to all parties and counsel who have appeared in this action, who

have consented under Civil L.R. 5-1 to accept that Notice as service of this document.




Dated: April 20, 2023


                                             /s/ Edward D. Hassi
                                             Edward D. Hassi (pro hac vice)




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    ALBERTSONS COMPANIES, INC.’S NOTICE OF JOINDER IN DEFENDANT THE KROGER CO.’S
          OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
